
PER CURIAM.
Affirmed. See Little v. State, 77 So.Sd 722, 722-23 (Fla. 3d DCA 2011) (holding that “section 893.13, as amended by section 893.101, Florida Statutes (2002), is constitutional”; rejecting Shelton v. Secretary, Department of Corrections, 802 F.Supp.2d 1289, 1308 (M.D.Fla.2011), in which federal court held that section 893.13, Florida Statutes (2004), “violates the due process clause and that the statute is unconstitutional on its face”); Ortega v. State, 76 So.3d 346 (Fla. 3d DCA 2011); see also State v. Adkins, 71 So.3d 184 (Fla. 2d DCA 2011), review granted, 71 So.3d 117 (Fla.2011).
